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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

FTX TRADING LTD., et al., 1                                Case No. 22-11068 (JTD)

         Debtors.                                          (Jointly Administered)

                                                           Hearing Date: May 15, 2024 at 1:00 p.m. (ET)
                                                           Objection Deadline: April 24, 2024 at 4:00 p.m. (ET)

                                            NOTICE OF MOTION

TO:      (a) the U.S. Trustee; (b) counsel to the Committee; (c) any interested or affected
         governmental or regulatory entity, including the Internal Revenue Service, the Securities
         and Exchange Commission and the United States Department of Justice; (d) counsel for
         CM-Equity; (e) counsel for Binance; (f) counsel to the Purchaser Parties; and (f) any
         other party that has requested notice pursuant to Bankruptcy Rule 2002.

       On April 10, 2024, FTX Trading Ltd. and its affiliated debtors and debtors-in-possession
(the “Debtors”) filed the Motion of Debtors for Entry of an Order (I) Authorizing and Approving
Entry Into, and Performance Under, the Collateral Claim Settlement Agreement, the Inter-
Debtor Restructuring Agreement and the Restructuring Payment Agreement and (II) Granting
Related Relief (the “Motion”).

       Objections, if any, to the relief requested in the Motion must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before April 24, 2024 at 4:00 p.m. (ET).

       At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on April 24, 2024.

      A HEARING ON THE MOTION WILL BE HELD ON MAY 15, 2024 AT 1:00 P.M.
(ET) BEFORE THE HONORABLE JOHN T. DORSEY, UNITED STATES BANKRUPTCY
COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
OF DELAWARE, 824 NORTH MARKET STREET, 5th FLOOR, COURTROOM NO. 5,
WILMINGTON, DELAWARE 19801.




1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: April 10, 2024                     LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                          /s/ Matthew B. McGuire
                                          Adam G. Landis (No. 3407)
                                          Matthew B. McGuire (No. 4366)
                                          Kimberly A. Brown (No. 5138)
                                          Matthew R. Pierce (No. 5946)
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                                          -and-

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                                          Counsel for the Debtors and
                                          Debtors-in-Possession




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